Case 1:19-cr-00725-JPO Document 56-1

SUNTRUST BANK
PO BOX 305183
NASHVILLE TN 37230-5183

SUNTRUST

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63/816/0175/0/40

08/27/2019

Account
Statement

Questions? Please call
1-800-786-8787

 

Keep your SunTrust Accounts safer. Use unique usernames and passwords for your online bank accounts.
It's best not to recycle the same username and password on multiple websites
where you have an online profile - especially your financial accounts.
Also, try to avoid characters from your email, phone number, birthdate or other personal information.

 

 

 

 

 

 

 

Account Account Type Account Number Statement Period
Summary
ESSENTIAL CHECKING Po 07/27/2019 - 08/27/2019
Description Amount Description Amount
Beginning Balance $.76
Overdraft Protected By
Protection Not enrolled
For more information about SunTrust's Overdraft Services, visit www.suntrust com/overdraft.
Transaction History
Deposits/ Withdrawals/ Current
‘k # Transaction Description Detail: Credits Debits Balance
07/27 Beginning Balance 76
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SUNTRUST BANK Page 2 of 2
PO BOX 305183 63/B16/0175/0/40
NASHVILLE TN 37230-5183
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Account
SUNTRUST etaletied
Transaction History
Deposits/ Withdrawals/ Current
Date _ Check # Transaction Description Details Credits Debits Balance
08/27 Ending Balance 81,950.17
Credit and Debit Totals $105,053.10 $23,103.69

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he Ending Daily Balances provided do not reflect pending transactions or holds fhat nay have been outstanding when your transactions posted that day. If your
available balance wasn't sufficient when transactions posted, fees may have been assessed.
For more information, including details related to fees and balances, please sign on to Online Bank ng

Overdraft & Returned Item Fees Summary

 

 

 

 

 

 

 

 

Total for this period] Total for year-to-date,
Total Overdraft Fees $0.00) $36.00}
[Total Returned Item Fees $0.00] $0.00
Balance Date | Balance Collected Date Balance Collected
Activity RAT. 2 Balance
History

 

  

 

81,950.17

 

Activate your personalized SunTrust Deals in Online or Mobile Banking! Earn up to 10% cash back when you shop at select retailers with your
SunTrust debit or credit card. Simply log in, activate your favorite deals, shop and get cash back. Learn more at suntrust.com/suntrustdeals.

Good news! Interest rates are being discounted by 0.50% for new Custom Choice private student loan
applications! Hurry - promotion ends August 31! Suntrust.com/summersavings.

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Member FDIC
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SUNTRUST BANK Page 1 of 6
PO BOX 305183 7
NASHVILLE TN 37230 5183 aes

09/25/2019

Account

SUNTRUST — Statement

Questions? Please call

 

 

 

 

 

 

 

  

   

1-800-786-8787
Account Account Type Account Number Statement Period
Summary
ESSENTIAL CHECKING Ps 08/28/2019 - 09/25/2019
Description Amount Description Amount
Beginning Balance $81,950.17
Overdraft Protected By
Protection Not enrolled
For more information about SunTrust's Overdraft Services, visit www.suntrust.com/over draft
Transaction History
Deposits/ Withdrawals/ Current
Date _ Check # Transaction Description Details Credits Debits Balance
az Beginning Balance 81,950.17
09/03 Incoming Fedwire Cr Trn #011321 200,000.00
09/03 Check Card Purchase TR DATE 08/30
Sq “Sq *Access Jet Gro Boca Raton Fi
09/03 Check Card Purchase TR DATE 08/30
Sq *Sq *Access Jet Gro Boca Raton FI
09/04 Incoming Fedwire Cr Trn #006247 200,000.00
09/04 Check Card Purchase TR DATE 09/03 30,000.00
Sq "Sq “Access Jet Gro Miami A
09/05 Check Card Purchase TR DATE 09/04 5,824.04 fF

Sq *Sq “Access Jet Gro Boca Raton Fi
130161 Member FDIC Continued on next page
Case 1:19-cr-00725-JPO Document 56-1 Filed 12/20/19 Page 4 of 17

SUNTRUST BANK Page 2 of 6
PO BOX 305183 LO
NASHVILLE TN 37230-5183
=—_ 09/25/2019
Account

SuNTRUST __ Statement

Transaction History

 

 

 

Deposits/ Withdrawals/ Current
Date Check # Transaction Description Details Credits Debits Balance
09/09 Outgoing Fedwire Dr Trn #014087 100,000.00

 

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SUNTRUST BANK Page 3 of 6
PO BOX 305183 63/81 6/0] 75/0/40
NASHVILLE TN 37230-5183
09/25/2019
Account
SUNTRUST eierement
Transaction History
Deposits / Withdrawals/ Current
Date Check # Transaction Description Details Credits Debits Balance
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09/10 lacoming Fedwire Cr Trn #004466 200,000.00
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200,000.00

 

 

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Case 1:19-cr-00725-JPO

SUNTRUST BANK
PO BOX 305183
NASHVILLE TN 37230-5183

SUNTRUST

Transaction History

Date

09/23

Check #

Incoming Fedwire Cr Trn #003648

Check Card Purchase TR DATE 09/21
Int*in *Element Aviati 4246668937 Fl

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Page 4 of 6
16/0175/0/40

09/25/2019

Account
Statement

Deposits/ Withdrawals/ Current
Credits Debits Balance

200,000.00

15,484.30

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PO BOX 305183 63/816/0175/0/40
NASHVILLE TN 37230-5183
— — 09/25/2019
Account

SUNTRUST __ Statement

Transaction History

 

Deposits/ Withdrawals/ Current
Date Check # Transaction Description Details cit: Debits Balance

09/23 Outgoing Fedwire Dr Trn #017035 100,000.

09/24 Check Card Purchase TR DATE 09/2 17,576.00
Int*in *Element Aviati 424-6668937 i

  
  

   

    

618,431.66

 

nding Balance

The Ending Daily Balances provided do not reflect pending transactions or holds that may have been outstandi ng when your transactions posted that day. If your
available balance wasn't sufficient when transactions posted, fees may have been assessed.
For more information, including details related to fees and balances, please sign on to Online Banking

 

 

 

 

 

 

 

 

 

 

   

Overdraft & Returned Item Fees Summary |

Total for this period) Total for year-to-date|
Total Overdraft Fees $0.00 $36.00
[Total Returned Item Fees $0.00 $0.00)
Balance Date Balance Collected Date Balance Collected
Activity Balance Balance
History 08/28 71,684.53 71,684.53

        

 

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SUNTRUST BANK Page 6 of 6

PO BOX 305183

NASHVILLE TN 37230-5183

Account
SUNTRUST statement
Balance Date Balance Collected Date Balance Collected
Activity Balance Balanc:
History
618,431.66 618,431.66

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Member FDIC

 
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PO BOX 305183 (0/40
NASHVILLE TN 37230-5183
— 10/28/2019
Account

SUNTRUST — Statement

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1-800-786-8787

    

 

Use your SunTrust Mastercard for qualifying purchases from 9/15 to 11/15/19 and you could ‘’
be surprised with a trip for two to London, Paris, Madrid or Milan,
No purchase necessary. Void where prohibited. U.S. res, 18+ before 9/15/19.
PiN-based debit, Int'l & corp. transactions ineligible. Card must be opened by 9/15/19. Ends 11/15/19.
Restrictions apply. See pricelesssurprises.com/suntrustCOF for details.

 

 

 

Account Account Type Account Number Statement Period
Summary ;
ESSENTIAL CHECKING Fo 09/26/2019 - 10/28/2019
Description Amount Description Amount
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Beginning Balance

   

 

Ending Balance
Overdraft Account Protected By
Protection Not enrolied

For more information about SunTrust's Overdraft Services, visit www.suntrust.com/overdraft.

   

$227,645.47

 

 

Transaction History

Deposits/ Withdrawals/ Current
Date _ Check # Transaction Description Details Credits Debits Balance

09/26 Beginning Balance

 

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SUNTRUST BANK Page 2 of 5
PO BOX 305183 ;
NASHVILLE TN 372

Account
Statement

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Transaction History
Deposits/ Withdrawals/ Current
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Date _ Check # ption Details

 

Check Card Purchase TR DATE 10/03 19,283.47
Int*in *Element Aviati 4246668937 FI

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PO BOX 305183 (
NASHVILLE TN 37230-5183

10/28/2019

Account

SUNTRUST __ Statement

Transaction History

 

Deposits/ Withdrawals/ Current

Date Check # Transacti

            
 
  

 
  

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Int*in “Element Aviati 424-6668937 F

10/18 Over-The-Counter Withdrawal 200,000.00 fF
10/21 Check Card Purchase TR DATE 10/18 « 15,780.94

Int*in *Element Aviati 424-6668937 FI

 

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Case 1:19-cr-00725-JPO Document 56-1

SUNTRUST BANK
PO BOX 305183
NASHVILLE TN 37230-5183

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Transaction History

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0/28/2019

Account
Statement

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Current

 
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PO BOX 305183 0

NASHVILLE TN 37230-5183 mcmama
Account

SuUNTRUST __ Statement

Transaction History

 

Deposits/ Withdrawals/ Current
Date Check Transaction Description Details Crodits Debi

   
  

   

10/28 Ending Balance 227,645.47

The Ending Daily Balances provided do not reflect pending transactions or holds that may have been outstanding when your transactions posted that day. If your
available balance wasn't sufficient when transactions posted, fees may have been assessed.
For more information, including details related to fees and balances, please sign on to Online Banking.

 

 

 

 

 

 

 

 

 

 

Overdraft & Returned Item Fees Summary
Total for this period Total for year-to-dat
Total Overdraft Fees $0.00) $36.00
Total Returned Item Fees $0.00} $0.00}
Balance Date Balance Collected Date Balance Collected
Activity Balance
History 09/26 612,007.13 612

     

 

 

 

10/28 227,645.47 227,645.47

 

Paying for college? Know your options.
In addition to private student loans, SunTrust offers tools & resources to help you plan for college costs.
Visit suntrust.com/studentloans to learn more.

The threat of identity theft is real. SunTrust wants to help protect your journey to financial confidence with
IDnotify credit monitoring from Experian. Visit suntrust.com/IDnotify to find out how you can enroll in this
premium service at no cost to you.

IDnotify is a registered trademark of CSID, an Experian company.

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PO BOX 305183 63/B16/0175/0/40
NASHVILLE TN 37230-5183
11/25/2019
Account

SuUNTRUST — Statement

Questions? Please call
1-800-786-8787

 

 

Paying for college? Know your options.
In addition to private student loans, SunTrust offers tools & resources to help you plan for college costs.
Visit suntrust.com/studentloans to learn more.

 

 

 

Account Account Type Account Number Statement Period

Summary ; ;
ESSENTIAL CHECKING Pe 10/29/2019 - 11/25/2019
Description Amount Description Amount
Beginning Balance $227,645.47

 

nding Balance $94,833.87

Overdraft Protected By
Protection Not enrolled

For more information about SunTrust's Overdraft Services, visit www.suntrust.com/overdratt.

 

 

Transaction History

 

Deposits/ Withdrawals/ Current
Date Check # Transaction Description Details Credits Debits Balance
10/29 Beginning Balance 227,645.47

 

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NASHVILLE TN 37230-5183

11/25/2019

Account

SUNTRUST Statement

Transaction History

Deposits/ Withdrawals/ Current
Date Check # Transaction Description Details j i

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Account

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Transaction History

Deposits/ Withdrawals/ Current
Date Check # Transaction Description Details Credits Debits Balance

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Account

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Transaction History

 

Deposits/ Withdrawals/ Current

Date Check # Transaction Description Details Credits Debits Balance

  

  

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The Ending Daily Balances provided do not reflect pending transactions or holds that may have been outstanding when your transactions posted that day. If your
available balance wasn't sufficient when transactions posted, fees may have been assessed.
For more information, including details related to fees and balances, please sign on to Online Banking.

 

 

 

 

 

 

 

 

 

Overdraft & Returned Item Fees Summary |
Total for this period! Total for year-to-dat
Total Overdraft Fees $0.00 $36.00
Total Returned Item Fees $0.00 $0.00
Balance Date Balance Collected Date Balance Collected
Activity _ Balance

History

  

 

 

 

11/25 94,833.87 94,833.87

 

 

The threat of identity theft is real.
SunTrust wants to help protect your journey to financial confidence with IDnotify credit monitoring from Experian.
Visit suntrust.com/IDnotify to find out how you can enroll in this premium service at no cost to you.
IDnotify is a registered trademark of CSID, an Experian company.

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